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FoR THE WESTERN DISTRICT oF TENNESSEE " - f :,@U£ \QC

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Plaintiff, ' @/'V

VS. No. 04-10050-T

BlLLY WAYNE MOORE,

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Defendant.

ORDER CONTINUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for good
cause shown, the report date Which is currently scheduled for August l, 2005, and the trial date
which is currently scheduled for August 15, 2005, are hereby continued The defendant contends
that additional time is needed to prepare for trial.

The court finds that defendant’ s need for a continuance for additional preparation outweighs
the best interests of the public and the defendant in a speedy trial; therefore, the ends of justice will
be served by granting a continuance in order to allow the defendant more time to prepare for trial.
Accordingly. the trial is continued from August 15, 2005, to August 3l, 2005, at 9:30 a.m. The
resulting period of delay, from August 15, 2005, to August 31, 2005, is excluded pursuant to lS
U.S.C. § 3l6l(h)(8)(A).

A new report/motion date has been set for August l5, 2005, at 8:45 a.m.

lT IS SO ORDERED. 13 ; § a d

JAME/s .`ToDD
uNIT sTATEs DisrRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 1:04-CR-10050 was distributed by faX, mail, or direct printing on
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ENNESSEE

 

J ames W. Powell

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Honorable J ames Todd
US DISTRICT COURT

